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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

COX COMMUNICATIONS, INC., et al.,
                                     Case No. 1:19-mc-00144-APM
                 Movants,
                                     Underlying Litigation:
           v.                        Sony Music Entertainment, et. al. v. Cox
                                     Communications, Inc., et al., Case No. 18-cv-
THE RECORDING INDUSTRY               00950-LO-JFA (E.D. Va.)
ASSOCIATION OF AMERICA,
                                     ORAL ARGUMENT REQUESTED
                 Respondent.


             COX’S MEMORANDUM OF LAW IN SUPPORT OF ITS
       MOTION TO COMPEL THE RIAA’S COMPLIANCE WITH COX’S
                     SUBPOENA DUCES TECUM




                            PARTIALLY REDACTED
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I.     INTRODUCTION

       Cox Communications, Inc. and CoxCom, LLC (“Cox”) brings this motion to compel the

Recording Industry Association of America (“RIAA”) to produce documents that have critical

importance to a copyright infringement litigation pending in the Eastern District of Virginia.

       Cox, an Internet service provider (“ISP”), has been sued for secondary copyright

infringement by 53 individual plaintiffs, including some of the largest record labels and music

publishers in the world (the “Sony plaintiffs”). Sony Music Entm’t, et al. v. Cox Commc’ns, Inc.,

et al., Case No. 1:18-cv-00950-LO-JFA (E.D. Va.) (the “Sony litigation”). The Sony plaintiffs

allege that subscribers to Cox’s Internet service infringed 10,478 of their works by downloading

them without authorization through BitTorrent or other peer-to-peer file sharing technologies

available on the Internet between 2013 and 2014. The Sony plaintiffs seek to hold Cox liable for

vicarious and contributory copyright infringement in connection with its provision of Internet

service to these subscribers, and they seek in excess of $1.5 billion in statutory damages against

Cox.

       Cox subpoenaed the RIAA in the underlying litigation because it acted as the record label

plaintiffs’ agent in investigating alleged copyright infringement by Cox’s Internet subscribers and

sending infringement notices to Cox. The RIAA in turn engaged a technology company called

MarkMonitor to track the activities of Internet subscribers using peer-to-peer file sharing

technologies and send copyright infringement notices to ISPs, including Cox. These infringement

notices serve as the exclusive basis for the Sony plaintiffs’ allegations of direct infringement by

Cox’s Internet subscribers—a key element of proving their secondary copyright infringement case

against Cox.




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       During the timeframe at issue in this case, five major ISPs (Comcast, Time Warner,

Cablevision, AT&T, and Verizon, which together provided Internet service to the vast majority of

Internet users in the United States), content owners, the RIAA, and the Motion Picture Association

of America (“MPAA”) entered into an inter-industry agreement to address and deter online

copyright infringement. That agreement was memorialized in a Memorandum of Understanding

(“MOU”) signed by the participating parties. 1 The MOU established “[a] reasonable, alert-based

approach [to] help to protect legal rights granted by copyright and stem the unlawful distribution

of copyrighted works, while providing education, privacy protection, fair warning, and an

opportunity for review that protects the lawful interests of consumers” known as the “Copyright

Alert System” or “CAS.” 2

       The RIAA and many of the Sony plaintiffs (who at the time collectively owned the rights

to the majority of the sound recordings and musical compositions in the United States) were

signatories to this MOU and participants in CAS. The CAS MOU required participating ISPs to

develop, implement, and enforce copyright alert programs under which copyright owners would

send infringement notices to participating ISPs (to be forwarded to subscribers). The CAS MOU

also set out steps that ISPs would take in response to multiple notices of infringement relating to




1
  The participating ISPs were SBC Internet Services, Inc., BellSouth Telecommunications, Inc.,
Southwestern Bell Telephone Company, Pacific Bell Telephone Company, Illinois Bell Telephone
Company, Indiana Bell Telephone Company, Incorporated, Michigan Bell Telephone Company,
Nevada Bell Telephone Company, The Ohio Bell Telephone Company, Wisconsin Bell, Inc., The
Southern New England Telephone Company, and BellSouth Telecommunications, Inc. (the AT&T
Inc. companies); Verizon Online LLC, Verizon Online LLC — Maryland, and Verizon Online
Pennsylvania Partnership (the Verizon companies); Comcast Cable Communications
Management, LLC; CSC Holdings, LLC (solely with respect to its cable systems operating in New
York, New Jersey, and Connecticut) (the Cablevision systems); and Time Warner Cable Inc.
See Declaration of Diana Hughes Leiden (“Leiden Decl.”), Ex. G (Memorandum of Understanding
or “MOU”, Plaintiffs_00286200) at Plaintiffs_00286220-36.
2
  See Leiden Decl., Ex. G (MOU) at Plaintiffs_00286200.


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a single subscriber, and established limits to the number of notices an ISP was required to process.

The RIAA (and the individual Sony plaintiffs who had signed onto CAS) entered into separate

agreements with each participating ISP on behalf of its members, which governed how each ISP

would implement the CAS and how the ISPs would report data to the RIAA and MPAA. 3

Furthermore, specific sections of the CAS MOU required ISPs to generate and send the RIAA

monthly reports concerning the number of alleged infringements by accused subscribers.

         Cox was not a signatory to the CAS, and instead had already implemented its own multi-

step, or “graduated” response for responding to copyright infringement notices sent to Cox by

rights holders years before CAS was implemented by the other ISPs. In fact, Cox’s graduated

response was a more stringent response to combating alleged infringements than CAS in several

respects, including the fact that, unlike CAS, Cox’s graduated response process resulted in the

termination of service for certain “repeat infringers.”

         This motion to compel concerns the production of the reports and data generated by ISPs

and sent to the RIAA regarding the number of copyright infringement notices forwarded to unique

subscribers on a monthly basis that were intended to allow the RIAA to assess the effectiveness of

CAS over time. Cox met and conferred with the RIAA regarding its objections to the document

subpoena, and the parties were able to resolve a number of disagreements without Court

intervention. The RIAA, however, has flatly refused to produce any documents concerning CAS

and its implementation by ISPs, claiming it is irrelevant. But the court where the underlying case

is pending has already determined that CAS and how it was implemented is relevant to the Sony

plaintiffs’ claims, and in fact ordered the Sony plaintiffs to produce relevant documents in their




3
    See Leiden Decl., Exs. H-L (Implementation Agreements).


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possession. 4 And the effectiveness of CAS—which was endorsed by the RIAA and many of the

Sony plaintiffs—at combating online copyright infringement is undeniably relevant to the

underlying litigation in light of the Sony plaintiffs’ claims that Cox’s more stringent graduated

response was an insufficient response to the infringement notices at issue. Notably, the RIAA has

never asserted that searching for and producing these documents and communications from a

narrow period of time would be unduly burdensome.

          The RIAA has documents that are critically important to Cox’s defense of the underlying

$1.5 billion copyright infringement case, which should be produced. Cox respectfully requests

that the Court grant this motion.

II.       RELEVANT PROCEDURAL HISTORY

          On January 7, 2019, Cox subpoenaed the RIAA, seeking documents relating to, among

other things:

      •   “All Documents and Communications concerning the implementation of the CAS by ISPs
          and the impact, if any, on the scope of copyright infringement through BitTorrent or other
          peer-to-peer networks, the number of copyright infringement notices being sent by You,
          on Your behalf, or on behalf of any of the Plaintiffs, and the number of terminations by
          ISPs based on their receipt of notices;” and

      •   “All Documents concerning CAS or any proposed inter-industry agreement concerning the
          handling of notices of copyright infringement.” 5

          On January 8, 2019, the Sony plaintiffs’ counsel accepted service of the Subpoena on behalf

of the RIAA and subsequently served written objections and responses on behalf of the RIAA on

January 22, 2019, unilaterally refusing to produce documents responsive to these requests on the

grounds that they were overly broad and sought information that was privileged and not within the



4
  See Leiden Decl., Ex. D (Jan. 25, 2019 H’rg Tr. at 61:20-62:9 (ordering the Sony plaintiffs to
produce the CAS MOU, CAS implementation agreements, and documents sufficient to show
whether each Plaintiff was a signatory or member of CAS)).
5
  Leiden Decl., Ex. B (RIAA Subpoena) RFP Nos. 19-20.


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RIAA’s possession. 6 The Sony plaintiffs took the position that because “CAS was a private

agreement in which Cox did not participate,” “[i]t has no bearing on Cox’s liability or damages

for the claims alleged in this case.” 7 On February 12, 2019 Cox followed up with a letter outlining

the relevance of the CAS-related documents and requested that the RIAA withdraw its objections. 8

The RIAA responded on February 22, 2019, refusing to produce any responsive documents and

again claiming that the requested documents were irrelevant. 9 The parties held a meet and confer

on these requests and the RIAA stood on its objections. 10 Cox subsequently served a discovery

request on the Sony plaintiffs seeking “[a]ll Documents and Communications concerning the

impact, if any, on levels of infringement from the CAS, including data, reports, studies, or

analyses.” 11 In July 2019, the Sony plaintiffs objected to this request and refused to provide any

responsive documents, claiming again that CAS was irrelevant and that the request sought

privileged information. 12 Cox met and conferred with the RIAA again in late June 2019 and was

able to resolve other production issues without Court intervention. However, as of the date of this

filing, the RIAA has not produced any documents responsive to the requests at issue. 13

III.   ARGUMENT




6
  Leiden Decl., Ex. C (RIAA Responses to Subpoena) RFP Nos. 19-20.
7
  Id.
8
  See Leiden Decl., Ex. E (Feb. 12, 2019 letter).
9
  Leiden Decl., Ex. F (Feb. 22, 2019 letter).
10
   Leiden Decl., ¶ 9.
11
   Leiden Decl., Ex. M (Cox’s May 31, 2019 document requests).
12
   Leiden Decl., Ex. N (Sony plaintiffs’ July 1, 2019 objections and responses to Cox’s May 31,
2019 document requests).
13
    Leiden Decl., ¶ 19. The Sony plaintiffs previously produced the CAS MOU and the
implementation agreements, as ordered by the court in the underlying litigation. Id., ¶ 8.


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       A.      Legal Standard

       A party has a right to subpoena any person to produce documents for inspection and

copying. See Fed. R. Civ. P. 45(a). Because courts apply the standards of Rule 26 to subpoena

requests under Rule 45, Coleman v. District of Columbia, 275 F.R.D. 33, 36 (D.D.C. 2011), the

scope of permissible discovery under Rule 45 is broad. Wyoming v. U.S. Dep't of Agric., 208

F.R.D. 449, 452 (D.D.C. 2002) (“Generally, courts construe the scope of discovery liberally in

order to ensure that litigation proceeds with the fullest possible knowledge of the issues and facts

before trial.” (quotation marks omitted)). Therefore, “a request for discovery should be considered

relevant if there is any possibility that the information sought may be relevant to the claim or

defense of any party.” Hesco Bastion Ltd. v. Greenberg Traurig LLP, No. 09-0357, 2009 WL

5216932, at *4 (D.D.C. Dec. 23, 2009).

       Here, Cox’s subpoena to the RIAA seeks information that falls well within the scope of

permissible discovery, and the grounds that the RIAA offers for refusing to comply are baseless.

An order directing the RIAA to comply is therefore necessary and proper. 14

       B.      The RIAA Should Be Compelled to Produce Reports Concerning the
               Effectiveness of CAS

       The monthly reports that CAS-participating ISPs were required to generate and send to the

RIAA are directly responsive to Cox’s requests, squarely in the RIAA’s possession, and relevant

to the underlying litigation.

       The CAS MOU states:

        “[E]ach Participating ISP shall provide reporting of non-personally identifiable
       information to the Content Owner Representatives identifying . . . information about those
       Subscribers who have received Copyright Alert(s) during the applicable calendar month



14
  Discovery in the Sony litigation ended on July 2, 2019. However, this District permits the filing
of motions to compel after the close of discovery. Barnes v. D.C., 289 F.R.D. 1, 20 (D.D.C. 2012).


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       and the total number of alleged P2P Online Infringements by each such Subscriber.”
       (emphasis added). 15

The RIAA is defined in the CAS MOU as one of these Content Owner Representatives. 16 The

CAS MOU also states that the reports and data produced by the ISPs may be used “to analyze the

effectiveness of the Copyright Alert program.” 17 Additionally, the ISP Implementation

Agreements each had requirements concerning reporting the data. All of the ISP Implementation

Agreements required the ISP to “implement and deliver” the monthly reports to the Content Owner

Representatives “pursuant to the requirements detailed in Section 4(I) of the MOU.” 18 What

differed between the Implementation Agreements was what information each ISP would include

in the report and the format it would take:

       •       Comcast, Time Warner, and AT&T agreed to provide data showing each unique
               subscriber who received a copyright notice, the corresponding identification
               numbers of the notices forwarded to that subscriber, and the number of notices
               received by each unique subscriber on a monthly basis. Comcast’s implementation
               agreement required that the data would be shared “in a spreadsheet format similar
               to the example shared, with any Comcast Customer ID information strictly
               anonymized, and the data delivered in a mutually agreeable secure format.” 19
       •       Verizon agreed to provide in the monthly reports the anonymous subscriber ID, ISP
               Notice ID, Infringement Level(s), File Name(s), and Date and Time Stamp(s). 20




15
   See Leiden Decl., Ex. G (CAS MOU at Section 4(I)).
16
   Id. at Section 1.
17
   Id. at Section 4(I).
18
   See e.g., Leiden Decl., Ex. H (AT&T Implementation Agreement, Section 6(E)); Ex. I (Comcast
Implementation Agreement, Section 6(E)); Ex. J (Time Warner Implementation Agreement,
Section 6(E)); Ex. K (Verizon Implementation Agreement, Section 6(E); Ex. L (CSC Holdings
Implementation Agreement, Section 6(E)) (requiring an alternate form of report).
19
   See Leiden Decl., Ex. I (Comcast Implementation Agreement, Section 6(E) and Attachments E-
1 & E-2); Id., Ex. J (Time Warner Implementation Agreement, Section 6(E)) and Attachments E-
1 & E-2; Id., Ex. H (AT&T Implementation Agreement, Section 6(E) & Attachment E-1). AT&T’s
specific procedure was “to be determined,” but the implementation agreement included two
“options,” both of which included this information.
20
   Leiden Decl., Ex. K (Verizon Implementation Agreement, Section 6(E) & Attachment E-2).


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         •       Rather than provide monthly reports, Cablevision agreed to deliver “ACNS Status
                 Update message/s for each ISP Notice it receives.” 21 These status updates would
                 identify unique subscribers with an anonymous ID number.
 Because the ISPs all agreed to provide the RIAA with data showing the number of notices

 forwarded to unique subscribers each month, this data would specifically permit the RIAA to

 assess whether CAS was effective at curbing piracy by “repeat infringers.”

         The RIAA’s assertion that these documents are irrelevant to the Sony litigation has no

 merit. In the underlying litigation, the Sony plaintiffs have argued that Cox “refused to take

 reasonable measures to curb its customers from using its Internet services to infringe on others’

 copyrights.” 22 At the same time, the RIAA and many of the Sony plaintiffs signed onto the CAS,

 which was touted as the standard participating rights holders and ISPs were to abide by for

 detecting copyright infringements, for sending notices of infringements to ISPs, and for how ISPs

 were to interact with their subscribers in response to receiving notices. Cox has taken the position

 that its graduated response was a more effective method for combating alleged copyright

 infringement than the CAS because, among other things, it provided for the termination of certain

 “repeat infringers,” while the Sony plaintiffs have argued that Cox’s graduated response was an

 insufficient reaction to notices of copyright infringement sent by the RIAA on the Sony plaintiffs’

 behalf. The effectiveness of the measures detailed in the CAS and that the ISPs implemented for

 responding to the copyright infringement notices—endorsed by the RIAA and the Sony

 plaintiffs—is therefore highly relevant to the Sony litigation.

         Additionally, the RIAA has provided no basis to find that these monthly reports, showing

the number of infringement notices forwarded to unique subscribers each month, would contain




21
     See Leiden Decl., Ex. L (CSC Holdings Implementation Agreement, Section 6(E)).
22
     Id., Ex. A (ECF 136, Amended Complaint ¶ 2).


                                                  8
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any privileged information. 23 Moreover, they would not include any personally-identifying

information given that the subscribers were required to be identified anonymously with, for

example, four-digit numbers. 24 And given that the ISPs sent these reports to the RIAA only once

a month, there is no basis to find that it would be overly burdensome for the RIAA to search for

and produce these reports. Finally, given that Cox sought these documents from the Sony

plaintiffs, who have flatly refused to provide them, it is appropriate for the Court to order the Sony

plaintiffs’ agent and the recipient of the reports at issue, the RIAA, to produce them.

IV.    CONCLUSION

       The RIAA is in possession of reports and data relevant to the effectiveness of CAS that are

highly relevant to the underlying Sony litigation. Cox respectfully requests the Court grant its

motion to compel the RIAA to produce documents and communications related to other ISP’s

implementation of the CAS, specifically the reports participating ISPs were contracted to generate

under the CAS MOU.



Dated: August 21, 2019                                        Respectfully submitted,

                                                              /s/ Thomas M. Buchanan
                                                              Thomas M. Buchanan (Bar No.
                                                              337907)
                                                              WINSTON & STRAWN LLP
                                                              1700 K Street, NW
                                                              Washington, DC 20006-3817
                                                              Tel: (202) 282-5787
                                                              Fax: (202) 282-5100
                                                              Email: tbuchana@winston.com




23
   To the extent that they did, the RIAA should be ordered to update its privilege log that was
initially provided to Cox on April 26, 2019, because the privilege log does not reflect the reports
that Cox is seeking from the RIAA. Leiden Decl., ¶ 16.
24
   See e.g., Leiden Decl., Ex. K (Verizon Implementation Agreement, Attachment E-2).


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                                       Attorney for Petitioners Cox
                                       Communications, Inc. and CoxCom,
                                       LLC




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                               CERTIFICATE OF SERVICE

       I certify that on August 21, a copy of the foregoing Movant’s Motion to Compel

Compliance with Cox’s Subpoena Duces Tecum was served by e-mail and via Federal Express on

the following:

Jeffrey M. Gould
Oppenheim + Zebrak, LLP
4530 Wisconsin Avenue, N.W., 5th Floor
Washington, DC 20016
Tel.: (202) 851-4526
Email: jeff@oandzlaw.com

Counsel for both the Respondent Recording
Industry Association of America and
Plaintiffs in the underlying action
pending in the Eastern District of Virginia
(Case No. 18-cv-00950-LO-JFA).


                                                   /s/ Thomas M. Buchanan
                                                   Thomas M. Buchanan (Bar No. 337907)
                                                   WINSTON & STRAWN LLP
                                                   1700 K Street, NW
                                                   Washington, DC 20006-3817
                                                   Tel: (202) 282-5787
                                                   Fax: (202) 282-5100
                                                   Email: tbuchana@winston.com

                                                   Attorney for Movants Cox Communications,
                                                   Inc. and CoxCom, LLC




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